     Case 1:10-cr-00002-JPJ-PMS     Document 1507       Filed 03/14/11    Page 1 of 27
                                    Pageid#: 8264



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                                             )    Case No. 1:10CR00002
                                             )
v.                                           )     OPINION AND ORDER
                                             )
JOHNATHAN TRENTON                            )    By: James P. Jones
LEONARD, RYAN C. HILTON ,                    )    United States District Judge
CHUCK ALLEN HENSLEY, AND                     )
CARRIE EVELYN JARRETT,                       )
                                             )
              Defendants.                    )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Dennis E. Jones, Dennis E. Jones & Associates, P.C., Lebanon,
Virginia, for Defendant Johnathan Trenton Leonard; Michael A. Bragg, Bragg Law,
P.C., Abingdon, Virginia, for Defendant Ryan C. Hilton; David D. Walker, Salem,
Virginia, for Defendant Chuck Allen Hensley; and Randall C. Eads, Abingdon,
Virginia, for Defendant Carrie Evelyn Jarrett.

        In this criminal case, I consider postverdict motions.

        The defendants, Johnathan Trenton Leonard, Ryan C. Hilton, Chuck Allen

Hensley, and Carrie Evelyn Jarrett, were indicted in this court, along with 32 other

defendants, for conspiring to distribute or possess with the intent to distribute certain

controlled substances, in violation of 21 U.S.C.A. §§ 841 and 846 (West 1999 &

Supp. 2010). Of the 36 individuals charged, only these four defendants elected to go

to trial. After a seven-day joint trial, all of the defendants were convicted by the jury.
  Case 1:10-cr-00002-JPJ-PMS        Document 1507      Filed 03/14/11    Page 2 of 27
                                    Pageid#: 8265



      The government contended that the defendants were members of a large, seven-

year-long, drug trafficking conspiracy centered around a family named Hutson,

consisting of the mother, 63-year-old Phyllis Amos, and her children, April Shannon

Hutson,1 Rhonda Hutson, and Samuel Hutson, with Shannon Hutson being the main

procurer of the illicit drugs. Shannon Hutson’s children, including her daughter Kari

Parks, were also distributors. The government alleged that the trafficking involved

cocaine and, beginning in late 2008, included prescription pain medication,

specifically OxyContin and Lortab. The conspiracy was centered in Northeast

Tennessee, with some acts in furtherance of it occurring in neighboring Southwest

Virginia.

      The defendants have filed timely motions for judgment of acquittal pursuant

to Federal Rule of Criminal Procedure 29(c) and for a new trial pursuant to Federal

Rule of Criminal Procedure 33(a). A central theme of the motions is that the

government failed to prove that the defendants were part of the conspiracy charged,

although different arguments are used in support of this contention. The motions

have been briefed and heard, and are ripe for decision.




      1
        Shannon Hutson is referred to in the record as both April Hutson and Shannon
Hutson. For convenience, in this Opinion she will be called Shannon Hutson, in accordance
with most of the references.

                                          -2-
  Case 1:10-cr-00002-JPJ-PMS       Document 1507       Filed 03/14/11    Page 3 of 27
                                   Pageid#: 8266



      After careful consideration of the record and of the arguments made by

counsel, I will deny the motions by Johnathan Trenton Leonard, Chuck Allen

Hensley, and Carrie Evelyn Jarrett, but I will grant the Motion for Judgment of

Acquittal by Ryan C. Hilton.



                                          I

      The defendants argue that they cannot legally be convicted of the conspiracy

charged in the Indictment, in light of the evidence and the jury verdict findings that

none of them participated in the distribution or possession of all three of the

controlled substances.    In other words, because the Indictment described the

conspiracy as involving all three controlled substances, the defendants contend that

the government was required to prove that each defendant was involved in

distributing each drug. As shown herein, that argument is unavailing.

      Count One of the Indictment charged the defendants as follows:

             1.     On or about and between January 1, 2003, and January 13,
      2010, in the Western District of Virginia and elsewhere, [the defendants]
      knowingly conspired together and with others, known and unknown to
      the grand jury, to distribute and possess with the intent to distribute five
      kilograms or more of cocaine, OxyContin (oxycodone) and its
      equivalents, Schedule II controlled substances, and Lortab
      (hydrocodone) and its equivalents, a Schedule III controlled substance,
      in violation of Title 21, United States Code, Section 841(a)(1).



                                          -3-
  Case 1:10-cr-00002-JPJ-PMS       Document 1507       Filed 03/14/11    Page 4 of 27
                                   Pageid#: 8267



            2.    All in violation of Title 21, United States Code, Sections 846,
      841(b)(1)(A), 841(b)(1)(C), and 841(b)(1)(D).

(Indictment 2-3.)2

      As part of the final jury charge in the defendants’ trial, the court instructed the

jury as follows:

             The defendants are charged with conspiracy to distribute or to
      possess with intent to distribute five kilograms or more of cocaine, as
      well as OxyContin (oxycodone) and Lortab (hydrocodone). You may
      find a defendant guilty of the offense, however, if the type or quantity
      of the controlled substance for which he or she should be held
      responsible is different than charged for the conspiracy as a whole.
      Thus the verdict form prepared with respect to each defendant will
      require, if you find the defendant guilty, to specify on the verdict form
      your unanimous finding concerning the type of drugs and the quantity
      of cocaine, if any, attributable to the defendant. The burden of proof is
      on the government to prove beyond a reasonable doubt the type and
      quantity of drugs attributable to the defendant.

             The type and quantity includes the drugs fellow conspirators
      distributed or possessed with intent to distribute, if you find that such
      distribution or possession was a necessary or natural consequence of the
      defendant’s agreement or understanding and was reasonably foreseeable
      by the defendant.

             Your verdict must be unanimous in this regard. In other words,
      you must unanimously agree as to the specific drugs involved, as well
      as the quantity.

(Final Jury Instructions p. 16.)


      2
         There are only two counts of the Indictment. All 36 defendants were charged in
Count One. Shannon Hutson was charged as the only defendant in Count Two with
possessing and distributing cocaine.

                                          -4-
  Case 1:10-cr-00002-JPJ-PMS        Document 1507       Filed 03/14/11    Page 5 of 27
                                    Pageid#: 8268



      The jury returned separate verdicts as to each defendant, finding each guilty of

the conspiracy charge, and the drugs attributable as follows:

      Defendant Leonard — OxyContin and Lortab;

      Defendant Hilton — OxyContin;

      Defendant Hensley — Cocaine (at least 500 grams, but less than 5 kilograms);

and Lortab; and

      Defendant Jarrett — Cocaine (at least 500 grams, but less than 5 kilograms)

and Lortab.

      The underlying substantive federal drug law is 21 U.S.C.A. § 841, which

criminalizes the distribution of controlled substances. “The type of drug charged in

[an § 841] count is immaterial; the critical fact is that the substance is controlled, not

that it is one variety or another.” United States v. Townsend, 924 F.2d 1385, 1402

(7th Cir. 1991).

       Had the defendants been indicted on a conspiracy to distribute controlled

substances generally, without naming specific drugs, that basic charge would fulfill

the government’s minimum notice obligation. See, e.g., United States v. Holland, 494

F. Supp. 918, 922 (D. Md. 1980). Indeed, a primary reason the government lists

specific drugs and drug quantities in an indictment is to serve its own sentencing

purposes. See United States v. Foster, 507 F.3d 233, 249-51 (4th Cir. 2007) (holding

                                           -5-
  Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 6 of 27
                                   Pageid#: 8269



that in order for the statutory maximums and mandatory minimums contained in 21

U.S.C.A. § 841(b) to apply, the court must instruct the jury to determine the drug type

and quantities reasonably attributable to each coconspirator).

      Moreover, a conspiracy conviction in a case involving multiple types of drugs

does not require the government to link each defendant to each drug. See, e.g. United

States v. Banks, 10 F.3d 1044, 1054-55 (4th Cir. 1993) (holding that evidence

showing a defendant involved in heroin transactions was sufficient to prove his

participation in a singe large-scale drug conspiracy to distribute multiple types of

drugs); United States v. Garciga, No. 97-4160, 1998 WL 66597, at *1 (4th Cir. Feb.

19, 1998) (unpublished) (asserting that a defendant “need not have dealt directly in

all the controlled substances in which the conspiracy dealt to be found part of the

conspiracy”); United States v. Przenkop, Nos. 95-5069, 95-5124, 95-5209, 1996 WL

654378, at *2 (4th Cir. Nov. 12, 1996) (unpublished) (affirming conspiracy

conviction related to both marijuana and cocaine where one member traded for

cocaine and another member for marijuana through an intermediary); see also United

States v. Edwards, 105 F.3d 1179, 1182 (7th Cir. 1997), aff’d, 523 U.S. 511 (1998)

(finding no error with jury instructions in a multi-drug conspiracy charge because the

substantive underlying offense is a conspiracy to distribute any drug proscribed as a

controlled substance); United States v. Barlin, 686 F.2d 81, 89 (2d Cir. 1982) (“The

                                         -6-
  Case 1:10-cr-00002-JPJ-PMS         Document 1507       Filed 03/14/11    Page 7 of 27
                                     Pageid#: 8270



mere fact that more than one substance is charged, however, does not mean there are

multiple conspiracies”); and United States v. Moten, 564 F.2d 620, 625 (2d Cir. 1977)

(finding that the involvement of two drugs (cocaine and heroin) was “not significant”

to the single versus multiple conspiracy issue).

       The defendants argue that because the grand jury chose to list three drugs in

the Indictment, it thereby defined the scope of the conspiracy as involving all three

drugs. While defendants are correct that “[t]o determine the scope of the alleged

conspiratorial agreement, the court is bound by the language of the indictment,”

United States v. Hitt, 249 F.3d 1010, 1015 (D.C. Cir. 2001), “[t]he indictment

establishes the outer limits of the scope of the conspiracy . . . . In other words, the

indictment establishes a ceiling not a floor.” United States v. Kang, 715 F. Supp. 2d

657, 673 (D.S.C. 2010). In part, the defendants’ argument is thus an effort to

reintroduce a previously unsuccessful duplicity argument, which must again be

rejected.3

       Finally, while a defendant may claim that he or she was not a member of the

larger conspiracy charged, but instead only a part of a separate conspiracy, that is

normally a factual issue for the jury, United States v. Urbanik, 801 F.2d 692, 695 (4th


       3
         The defendants raised a duplicity argument in pre-trial motions, which was rejected
after hearing and recommendation by the magistrate judge. (Report & Recommendation 5-7,
Mar. 24, 2010, adopted by Order, Apr. 19, 2010.)

                                            -7-
   Case 1:10-cr-00002-JPJ-PMS         Document 1507        Filed 03/14/11     Page 8 of 27
                                      Pageid#: 8271



Cir. 1986), separate from the question of which drug and its quantity should be

attributed to the defendant for sentencing purposes. In this case, the defendants

received a multiple-conspiracy jury instruction to support a defense that they were at

most members of separate and uncharged conspiracies.4




       4
           The instruction provided as follows:

              In order to sustain its burden of proof for the charge of conspiracy, the
       government must show that the conspiracy alleged in the indictment existed.
       Proof of separate or independent conspiracies is not sufficient. Whether the
       evidence proves a single conspiracy or two or more multiple conspiracies is a
       question of fact which you must decide.

              In order for you to find a single conspiracy, there must be some overlap
       of key actors, methods, goals, and objectives. In other words, there must be
       enough evidence for you to conclude, beyond a reasonable doubt, that there
       was one overall agreement or one general business venture.

               On the other hand, as I have instructed, it is not necessary for the
       government to prove that a defendant knew all of his or her co-conspirators,
       or that he or she was aware of all the details of the criminal activity, for you
       to conclude that there was a single conspiracy. I further instruct you that it is
       possible for members of a single conspiracy to work in parallel positions, or
       even to compete against one another, without becoming a separate or
       additional conspiracy.

               In summary, you should consider all relevant evidence — including any
       evidence of common actors, goals, objectives, time periods, places or
       territories — and decide whether it proves a single conspiracy, multiple
       conspiracies, or no conspiracy at all.

(Final Jury Instructions p. 17.)

                                             -8-
  Case 1:10-cr-00002-JPJ-PMS        Document 1507       Filed 03/14/11    Page 9 of 27
                                    Pageid#: 8272



      In summary, the facts that multiple drugs were charged as objects of the

conspiracy and that the evidence and the jury verdict did not attribute each drug

charged to each defendant are not by themselves sufficient grounds for setting aside

the convictions.



                                            II

      In a related argument, the defendants contend that the jury instructions

constructively amended the Indictment by allowing the jury to convict based upon

participation with less than all of the three charged drugs. It is contended that the jury

instructions were internally inconsistent, because the jury was instructed that in order

to convict, it must find that the government proved beyond a reasonable doubt that,

“[t]he purpose or object of the agreement was either the distribution of, or the

possession of with the intent to distribute, certain controlled substances as charged”

(Final Jury Instruction p. 14) and also instructed that “You may find the defendant

guilty of the offense, however, if the type or quantity of the controlled substance for

which he or she should be held responsible is different than charged for the

conspiracy as a whole” (Final Jury Instructions p. 16) (emphasis added)).




                                           -9-
  Case 1:10-cr-00002-JPJ-PMS        Document 1507       Filed 03/14/11    Page 10 of 27
                                     Pageid#: 8273



       Essentially, the argument is that because the Indictment charged that the

defendants conspired to distribute all three drugs, the second quoted passage

inappropriately broadened the basis of conviction.

       As shown above, however, it is not necessary for the government to link each

defendant with each drug in order to convict for a conspiracy involving multiple

drugs. Moreover, “when the Government charges in the conjunctive, and the statute

is worded in the disjunctive, the district court can instruct the jury in the disjunctive.”

United States v. Perry, 560 F.3d 246, 256 (4th Cir. 2009). As a general rule, when

a jury returns a guilty verdict on an indictment charging several acts in the

conjunctive, the verdict stands if the evidence is sufficient with respect to any one of

the acts charged. United States v. Hawkes, 753 F.2d 355, 357 (4th Cir. 1985) (citing

Turner v. United States, 396 U.S. 398, 420 (1970)). In the present case, the jury

attributed at least one drug to each defendant and thus it deemed the evidence

sufficient as to the attributed drugs.

       For these reasons, the instructions provided to the jury do not support the

granting of a new trial.




                                          - 10 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507       Filed 03/14/11   Page 11 of 27
                                    Pageid#: 8274



                                           III

      Regardless of the lack of merit in the defendants’ purely legal arguments, the

evidence against each defendant must still sufficiently support his or her guilt of the

conspiracy charged. “The breadth of § 841(a) does not obviate the government’s

obligation to show that [the defendants] conspired to violate § 841(a) with the group

named in the indictment.” Townsend, 924 F.2d at 1402.

      In order to convict a defendant of drug conspiracy, the government must prove

beyond a reasonable doubt the following three elements: “(1) an agreement between

two or more persons to engage in conduct that violates a federal drug law . . . ; (2) the

defendant’s knowledge of the conspiracy; and (3) the defendant’s knowing and

voluntary participation in the conspiracy.” United States v. Hickman, 626 F.3d 756,

763 (4th Cir. 2010) (internal quotation marks and citation omitted). The conspiracy

may be proved “inferentially and by circumstantial evidence.” Id. (internal quotation

marks and citation omitted). Because criminal conspiracies are “clandestine and

covert,” there is “frequently . . . little direct evidence of such an agreement.” United

States v. Burgos, 94 F.3d 849, 857 (4th Cir. 1996) (en banc).

      In addition, a member of a conspiracy may not know its full scope or partake

in its full range of activities. “[O]nce it has been shown that a conspiracy exists, the

evidence need only establish a slight connection between the defendant and the

                                          - 11 -
  Case 1:10-cr-00002-JPJ-PMS        Document 1507       Filed 03/14/11    Page 12 of 27
                                     Pageid#: 8275



conspiracy to support conviction.” Id. at 861 (quotation marks and citation omitted).

“The term ‘slight’ does not describe the quantum of evidence that the Government

must elicit in order to establish the conspiracy, but rather the connection that the

defendant maintains with the conspiracy.” Id.

       The defendants argue that the evidence presented at trial was insufficient to

support their participation in the single, large-scale conspiracy alleged. They argue

that the evidence showed, at best, that the defendants participated in different and

unrelated relationships with the Hutsons.5

       Conspiracy variance claims, in essence, challenge the sufficiency of the

evidence supporting the jury’s verdict that each defendant was a member of the same

conspiracy. Townsend, 924 F.2d at 1389; see also Banks, 10 F.3d at 1050 n.1

(describing a multiple conspiracy challenge as a “type [of] evidence-sufficiency

issue”). The government bears the burden of proving the single conspiracy charged.

United States v. Hines, 717 F.2d 1481, 1489 (4th Cir. 1983).




       5
         Similar arguments often compare “hub-and-spoke,” “rimless wheel,” and “chain”
conspiracies. Although these terms may provide a metaphorical picture for the multiple-
versus-single-conspiracy issue, one should not fixate on these images. “Conspiracies are as
complex as the versatility of human nature and federal protection against them is not to be
measured by spokes, hubs, wheels, rims, chains or any one or all of today’s galaxy of
mechanical molecular or atomic forms.” United States v. Perez, 489 F.2d 51, 59 n.11 (5th
Cir. 1973).

                                           - 12 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 13 of 27
                                    Pageid#: 8276



      A single conspiracy exists where there is “one overall agreement” or “one

general business venture.” United States v. Leavis, 853 F.2d 215, 218 (4th Cir. 1988)

(internal quotation marks and citations omitted).        “Whether there is a single

conspiracy or multiple conspiracies depends upon the overlap of key actors, methods,

and goals.” Id. This overlap cannot be determined woodenly. A drug conspiracy is

unlikely to have “a discrete, identifiable organizational structure,” but rather is more

likely “a loosely-knit association of members linked only by their mutual interest in

sustaining the overall enterprise of catering to the ultimate demands of a particular

drug consumption market.” Banks, 10 F.3d at 1054.

      Perhaps unsurprisingly, therefore, in similar multi-drug conspiracy cases, the

definition of the conspiracy’s object, and thus the agreement entered into by its

participants, depends highly on the characterization of the particular market of the

conspiracy.   In some cases, the conspiracy’s object has been defined by region,

others by the controlled substances peddled, and still others by the drugs’ supply

source. See Banks, 10 F.3d at 1054 (defining the conspiracy as satisfying the

“massive consumer market for heroin and cocaine in the general Tidewater area of

Virginia”); United States v. Newton, 141 F. App’x. 114, 117 (4th Cir. 2005)

(unpublished) (defining the conspiracy as “distribution of narcotics to users in the

Front Royal [Virginia] area); Urbanik, 801 F.2d at 696 (defining the object of the

                                         - 13 -
  Case 1:10-cr-00002-JPJ-PMS      Document 1507      Filed 03/14/11   Page 14 of 27
                                   Pageid#: 8277



conspiracy as “the wide-scale possession and distribution of marijuana and cocaine”);

United States v. Valentine, No. 94-5482, 1995 WL 570431, at *1 (4th Cir. Sept. 28,

1995) (unpublished) (defining the scope of the conspiracy as including both heroin

and crack cocaine); United States v. Sicle, Nos. 92-5365, 92-5378, 92-5379, 1993 WL

280488, at *6 (4th Cir. July 26, 1993) (unpublished) (establishing the conspiratorial

enterprise as “distributing multi-kilogram quantities of cocaine”); United States v.

Reeves, No. 98-4115, 1999 WL 150830, at *2 (4th Cir. Mar. 19, 1999) (unpublished)

(describing the conspiracy’s aim as protecting the “‘big family’” that worked together

in a multi-drug distribution business); United States v. Holland, 59 F. Supp. 2d 494,

531 (D. Md. 1998) (defining the conspiratorial goal as distributing to consumers

“‘Holland’s drugs’”).

      A participant’s knowledge of and interest in the conspiracy may be inferred by

“the regularity and volume of dealings” of an individual with the distribution system,

even if the individual performs “distribution functions in separate localities without

specific knowledge of the existence or numbers of such other persons and localities.”

United States v. Burman, 584 F.2d 1354, 1356-57 (4th Cir. 1978). The Fourth Circuit

has repeatedly rejected multiple conspiracy defenses where the evidence showed an

individual’s ongoing participation in a drug enterprise and the inference of

knowledge and accession that goes along with such participation. See, e.g. Banks, 10

                                        - 14 -
   Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 15 of 27
                                     Pageid#: 8278



F.3d at 1054 (noting that such evidence demonstrates “a substantial level of

commitment” to the conspiracy’s aims).

       By contrast, “multiple conspiracies exist where the evidence shows separate

networks operating independently of each other.” Barlin, 686 F.2d at 89. A network

demonstrating multiple conspiracies has been characterized as “comple[x] either with

respect to persons, lines of communication, or distribution.” Id. In a multiple

conspiracy scenario, each individual’s agreement is “distinct and disconnected, not

part[] of a larger general scheme” and has “its own distinct, legal end.” Blumenthal

v. United States, 332 U.S. 539, 558 (1947). Where the conspiracies lack a substantial

overlap in time, participants, facts, or aims, multiple conspiracies should be found.

See United States v. Weaver, 905 F.2d 1466, 1477-78 (11th Cir. 1990).

      In drug cases, a defense related to the multiple conspiracy concept is the so-

called “buyer-seller” defense. In this defense, the individual argues that there was no

agreement to participate in the drug distribution operation, but rather that the parties’

agreement did not transcend the scope of the immediate transactions. Essentially, the

defendant’s participation was limited to fulfilling and facilitating his or her own

personal drug consumption needs. In United States v. Giunta, 925 F.2d 758, 767 (4th

Cir. 1991), overruled on other grounds by United States v. Burgos, 94 F.3d at 859, the

Fourth Circuit held that one does not come within the ambit of § 846 by merely

                                          - 15 -
  Case 1:10-cr-00002-JPJ-PMS           Document 1507        Filed 03/14/11      Page 16 of 27
                                        Pageid#: 8279



facilitating a sale. Likewise, a drug addict does not automatically participate in the

conspiracy by simply providing a market for the drug, although such evidence may be

probative of a conspiratorial relationship. United States v. Mills, 995 F.2d 480, 485

(4th Cir. 1993).6

      Addressing these defenses thus requires examining whether the evidence

presented shows individual agreement to participate in the conspiracy as charged. As

noted above, the government fashioned its case as a large-scale drug trafficking

conspiracy led by the Hutson family, and located in a specific geographical region.

Thus, the issue is whether the evidence sufficiently supports the jury’s findings that

the defendants agreed to participate in the Hutson operation, or rather, whether the

evidence showed only participation in smaller, unrelated drug operations or simple

buy-sell relationships with the Hutsons.

      In considering the evidence, I must keep in mind that “[t]he jury, not the

reviewing court, weighs the credibility of the evidence and resolves any conflicts in

the evidence presented.” Burgos, 94 F.3d at 862 (internal quotation marks and citation


       6
          In the present case, the jury was instructed that “[t]he mere purchase or receipt of
illegal drugs by a user of the drugs, without resale or distribution, but solely for personal use,
does not of itself make the purchaser a conspirator. However, the circumstances surrounding
any such purchase or receipt may be considered by you along with all of the other
circumstances as shown by the evidence, in determining whether the purchaser knowingly
joined the conspiracy charged with the intent to further its purpose.” (Final Jury Instructions
p. 15.)

                                             - 16 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507     Filed 03/14/11    Page 17 of 27
                                    Pageid#: 8280



omitted). In this process, I view the evidence and all reasonable inferences to be

drawn therefrom in the light most favorable to the government. United States v. Perry,

335 F.3d 316, 320 (4th Cir. 2003). The question is whether the convictions are

supported by substantial evidence which is defined as “evidence that a reasonable

finder of fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.” United States v. Young, 609 F.3d 348,

355 (4th Cir. 2010) (internal quotation marks and citation omitted).

      Keeping these principles in mind, I will review the evidence against each

defendant.

                          JOHNATHAN TRENTON LEONARD.

      Law enforcement officers followed defendant Johnathan Trenton Leonard and

Shannon Hutson and observed them meet with a drug courier in a restaurant parking

lot off of Interstate 40. They were stopped after the meeting and approximately $7,000

in cash and over 3,000 OxyContin and Lortab tablets were discovered in a locked bag,

to which Hutson had a key. The drug courier, from Michigan, was also arrested after

the meeting and found to be in possession of $74,220 in currency.

      During the course of the investigation by law enforcement, Leonard was

observed associating with members of the Hutson family and other defendants in the

conspiracy, and was described by one witness as having “an affair” with Shannon

                                        - 17 -
   Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 18 of 27
                                     Pageid#: 8281



Hutson. (Trial Tr. 203, May 13, 2010.) One member of the conspiracy testified that

Shannon Hutson “fronted” Leonard with OxyContin to sell. (Id. at 34-36.) Another

member testified that Leonard sold him OxyContin tablets and told him that they came

from Shannon Hutson. (Id. at 126.) A coconspirator who testified had observed

Leonard and Shannon Hutson on the bed in her bedroom, counting OxyContin and

Lortab tablets into baggies for resale. (Id. at 203-05.)

      Accepting this evidence in the light most favorable to the government, the jury

could reasonably find that Leonard participated in the central conspiracy charged,

based upon his close relationship with a key player, the time frame involved, and the

methods utilized. The jury could infer that Leonard had knowledge that the Hutsons

and their associates were engaged in large-scale illegal drug distribution even though

the jury did not attribute one of the drugs — cocaine — to him.

      Based on the evidence, Leonard’s conviction will not be set aside.

                               CHUCK ALLEN HENSLEY.

      Hensley and Rhonda Hutson were in a romantic relationship and Hensley lived

for a time with her in her home. In a confession Hensley made to law enforcement

authorities (Trial Tr. 25-44, May 11, 2010), he gave detailed information about the

Hutson drug operation, including its distribution of large amounts of cocaine and

prescription pain pills, which an agent testified was “pretty much . . . right on,” based

                                          - 18 -
  Case 1:10-cr-00002-JPJ-PMS      Document 1507     Filed 03/14/11   Page 19 of 27
                                   Pageid#: 8282



on the investigation. (Id. at 104.) Hensley confirmed that he and Rhonda had set up

a roof guttering business in order to launder money received from the Hutson drug

operations. He also admitted having made trips to North Carolina to obtain cocaine

for distribution and to have assisted in counting the cash received from drug sales,

which according to him amounted to $50,000 to $60,000 on a biweekly basis.

      Hensley testified at trial on his own behalf. He admitted his relationship with

Rhonda Hutson and that she had supplied him with Lortab for his own use, but

contended that he had “no idea” about the extent of her drug dealing. (Trial Tr. 206-

07, May 17, 2010.) He claimed that he had lied to the police about his personal

knowledge of the Hutson operation in order to seek revenge against Rhonda after she

“kicked [him] out” and refused to pay him what he was owed from their guttering

business. (Id. at 204-05, 219.) He denied having distributed any drugs or having been

part of a conspiracy to do so.

      Brian Keith Proffitt, a member of the conspiracy who pleaded guilty, testified

for the government. He was one of Rhonda Hutson’s several other boyfriends, and

testified that Hensley had sold him cocaine “a lot” (Trial Tr. 108, May 12, 2010) and

that Hensley had obtained cocaine from Junior Stiltner, another one of Rhonda’s

boyfriends and a coconspirator.




                                        - 19 -
   Case 1:10-cr-00002-JPJ-PMS         Document 1507     Filed 03/14/11   Page 20 of 27
                                       Pageid#: 8283



      Based on this evidence, and other substantial evidence presented at trial

concerning the nature and extent of the conspiracy, the jury was fully justified in

finding that the government had proved beyond a reasonable doubt that Hensley was

guilty.

                                    RYAN C. HILTON.

          A government agent testified at trial as to seized text messages between Hilton

and Kari Parks, Shannon Hutson’s daughter, in which Hilton sought to purchase pain

pills from Parks and in which she asked him to “save me one . . . if you can or a half.”

(Trial Tr. 214, May 11, 2010.) Hilton was also observed meeting with Parks, and on

one occasion traveling together to the apartment of a charged conspirator and seller

of OxyContin, Daniel Cosby. (Trial Tr. 62-63, May 12, 2010.)

      Jeffrey James Howell, another charged member of the Hutson conspiracy,

testified for the government that he had sold OxyContin tablets to Hilton. He

explained that Hilton would ask him for a certain number of pills, and he would

purchase the pills from a member of the Hutson organization with Hilton’s money and

deliver them to Hilton, keeping a pill or a half of a pill as his charge for this service.

(Trial Tr. 11-13, May 13, 2010.) According to Howell, Hilton had a job and thus had

the necessary money to feed his OxyContin addiction. He said that sometimes he and




                                           - 20 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 21 of 27
                                    Pageid#: 8284



Hilton would “do a pill” together, meaning that Howell would crush an OxyContin

tablet and they would snort it together. (Id. at 15-16.)

      When initially interviewed by an agent, Hilton lied about his drug use and

purchasing pills from Howell and Parks. However, the agent testified that the

investigation did not reveal that Hilton ever sold pills or cocaine. (Trial Tr. 63, May

12, 2010.)

      Hilton testified at trial on his own behalf and explained that he had been heavily

addicted to prescription pain medication and had purchased OxyContin over a period

of about two years, first from Howell and then from Parks. He testified that he had

understood that his drug sellers would by necessity have to obtain the pills from

others, although he denied knowledge of the Hutson organization.

      Hilton argues that this evidence showed only that he purchased pills for

personal use to support his strong addiction. Hilton contends that the evidence was

absent that he ever acted in a manner typically associated with joining a conspiracy,

such as transporting, storing, handling drugs or drug money, or otherwise aiding the

conspiracy’s members.

      The government asserts that Hilton’s transactions and testimony demonstrated

his knowledge that Howell and Parks were necessarily involved with third parties

who supplied them with the pills that they in turn sold to Hilton. Moreover, it is

                                         - 21 -
   Case 1:10-cr-00002-JPJ-PMS        Document 1507       Filed 03/14/11    Page 22 of 27
                                      Pageid#: 8285



argued, on occasion those arrangements allowed Howell and Parks to keep part of the

drugs which they purchased for Hilton. Government counsel argued at trial that this

evidence showed that Hilton’s involvement was not that of “a typical buyer/seller

relationship,” which “contemplates a very short term, almost instantaneous type [of

relationship].” (Trial Tr. 135, May 14, 2010.)

       After a careful review of the record, I find that the evidence presented was

insufficient to convict Hilton of the charged conspiracy. As previously noted, the

government’s theory of prosecution centered on the large-scale Hutson conspiracy.

Thus, Hilton’s conviction required evidence of his agreement to participate in that

operation. However, Hilton’s willingness to sometimes share a pill with his dealer in

the course of and in payment for the sale demonstrates participation only to facilitate

the immediate transaction.

       Moreover, the fact that Hilton would by necessity know that his immediate

sellers needed to deal with others in order to obtain the drugs is not instructive, in light

of the complete absence of evidence of Hilton’s knowledge concerning the Hutson

organization.

       A conviction under 21 U.S.C.A. § 846 “requires more than a conspiracy to

attempt to arrange a purchase.” See United States v. Melchor-Lopez, 627 F.2d 886,

892 (9th Cir. 1980). While evidence of a buy-sell relationship is probative on the

                                           - 22 -
   Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 23 of 27
                                     Pageid#: 8286



issue of whether a conspiratorial relationship exists, especially when coupled with a

substantial quantity of drugs, such a relationship is not by itself dispositive evidence.

See United States v. Mills, 995 F.2d 480, 485 (4th Cir. 1993). Rather, the evidence

must go beyond the immediate transaction to show that the buyer and seller “agreed

to work together to further the distribution to third parties.” United States v. Jones,

No. 94-5403, 1996 WL 226616, at *3 (4th Cir. May 6, 1996) (unpublished). Without

such an agreement, the buyer and seller have not finalized any act essential to a

conspiracy conviction.

      Instead, even if the seller has the requisite intent, the buyer’s agreement is

limited to the single-minded goal of satisfying his own habit. “[C]onspiracy requires

agreement between at least two persons to take concerted action,” and “if the purposes

of alleged co-conspirators are different, though both are aimed at unlawful goals, there

is no conspiracy.” United States v. Giunta, 925 F.2d at 764. The purposes of the

involved parties differ, and no criminal agreement has been completed.

      It is true that Hilton’s purchases of OxyContin from Howell and then from Parks

constituted more than a short term relationship, because Hilton purchased pills from

these two drug dealers over a period of months. But there is no evidence from which

a jury could properly infer that the purchases were other than to feed his own habit.

There was no evidence, for example, that he bought on occasion such a large quantity

                                          - 23 -
   Case 1:10-cr-00002-JPJ-PMS         Document 1507       Filed 03/14/11     Page 24 of 27
                                       Pageid#: 8287



of pills as to raise the inference that at least some of them were for resale. See United

States v. Yearwood, 518 F.3d 220, 226 (4th Cir. 2008) (“[E]vidence of [a buyer-seller]

relationship, when combined with evidence of a substantial quantity of drugs . . .

would support a reasonable inference that the parties were coconspirators.”) (internal

quotation marks and citation omitted).7

      While Hilton certainly had an unlawful goal in obtaining the drugs, this goal

was not that targeted by the conspiracy as charged. The evidence did not show

Hilton’s agreement to advance the Hutson operation or to distribute to any third parties

beyond the buyer-seller transaction before him. The sole fact that Hilton sometimes

paid the person who delivered drugs to him with a pill, rather than with money, does

not place him on the conspiracy side of the equation. Thus, I find that Hilton’s

conspiracy conviction is not supported by sufficient evidence.8




       7
        There was evidence that Howell sold three to ten pills to Hilton, one to three times
per week. (Trial Tr. 198-99, May 12, 2010.) For an OxyContin addict, that is not a large
amount. Certainly there was no evidence that this was a distributable amount.
       8
          Hilton has alternatively sought a new trial. In accord with Federal Rule of Criminal
Procedure 29(d)(1), I will conditionally grant that motion, on the ground that the verdict was
against the weight of the evidence for the reasons stated above. A new trial would proceed
if the judgment of acquittal is reversed and the appellate court does not order otherwise. Fed.
R. Crim. P. 29(d)(3)(A).

                                            - 24 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 25 of 27
                                    Pageid#: 8288



                             CARRIE EVELYN JARRETT.

       A drug task force agent interviewed defendant Carrie Evelyn Jarrett in March

of 2008 and testified at the trial about her statements. Jarrett identified Kari Parks,

Shannon Hutson’s daughter, as a cocaine dealer, and gave general information about

the drug dealing of other individuals in the Hutson organization. She admitted that

she had transported Robert Nelson, a codefendant, to Shannon Hutson’s home when

he had purchased cocaine (Trial Tr. 114, May 11, 2010), and that she had been present

on many occasions at Nelson’s home when either Shannon or Parks delivered cocaine

to him. She confessed that she had purchased cocaine herself a number of times from

Raymond Hilliard, another codefendant.

      Jarrett was also interviewed by an agent in January of 2010, after she was

arrested in this case. She again described the activities of persons in the conspiracy

who sold drugs. She related that she had spent time at Raymond Hilliard’s house and

would obtain cocaine there for free. (Id. at 224.)

      Brandon Kincer, a codefendant and Jarrett’s brother-in-law, testified at trial for

the government that he had purchased cocaine from Jarrett on 10 or 15 occasions in

late 2007 and early 2008. (Trial Tr. 144-45, May 12, 2010.) Other government

witnesses also testified that Jarrett had distributed cocaine. Considering this record,

there was ample evidence to convict Jarrett of participation in the charged conspiracy.

                                         - 25 -
  Case 1:10-cr-00002-JPJ-PMS       Document 1507      Filed 03/14/11   Page 26 of 27
                                    Pageid#: 8289



      The jury attributed both cocaine and Lortab to Jarrett for sentencing purposes.

She argues that the evidence relating to Lortab was insufficient for this attribution,

because the Lortab she allegedly sold came from a prescription Jarrett received from

her dentist, and not from the Hutson drug conspiracy.

      Michael Caudill and his wife, Heather Caudill, both testified at trial for the

government that they had purchased Lortab from Jarrett as police informants.

Michael’s purchase was on September 17, 2009, and Heather’s was a few days later,

on September 22. Both testified without contradiction that the Lortab pills came from

Jarrett’s dental prescription. (Trial Tr. 301, May 13, 2010; Trial Tr. 23, May 14,

2010.)

      This evidence was relevant to the conspiracy charge, since it showed Jarrett’s

knowledge and intent in regard to drug trafficking. Moreover, it was clearly

established from the evidence that the distribution of Lortab was an object of the

conspiracy and was engaged in by other coconspirators. Jarrett’s sales of Lortab to the

Caudills was evidence from which the jury could find that her coconspirators’

distribution of this drug “was a necessary or natural consequence of the defendant’s

agreement or understanding and was reasonably foreseeable by the defendant” (Final

Jury Instruction 16) and thus properly attributable to her.




                                         - 26 -
Case 1:10-cr-00002-JPJ-PMS    Document 1507        Filed 03/14/11   Page 27 of 27
                               Pageid#: 8290



                                    III

   For the foregoing reasons, it is ORDERED as follows:

   1.    The posttrial motions of the defendants Johnathan Trenton Leonard,

         Chuck Allen Hensley, and Carrie Evelyn Jarrett (ECF Nos. 992, 1397,

         1409, 1438) are DENIED;

   2.    The Motion for Judgment of Acquittal by Ryan C. Hilton (ECF No.

         1303) is GRANTED and a separate judgment of acquittal as to this

         defendant will be entered herewith; and

   3.    Pursuant to Federal Rule of Criminal Procedure 29(d)(1), the Motion for

         a New Trial by Ryan C. Hilton (ECF No. 1303) is conditionally

         GRANTED, subject to any appellate review of the judgment of acquittal.



                                            ENTER: March 14, 2011

                                            /s/ JAMES P. JONES
                                            United States District Judge




                                   - 27 -
